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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 MEGIN ALLEN,

        Plaintiff,

 v.                                                       Case No:

 SYNCHRONY BANK,

       Defendant.                                         DEMAND FOR JURY TRIAL
 _____________________________/


       PLAINTIFF’S COMPLAINT WITH INJUNCTIVE RELIEF SOUGHT

        COMES NOW, Plaintiff, MEGIN ALLEN (“Mrs. Allen” or “Plaintiff”), by and

 through the undersigned counsel, and hereby sues and files this Complaint and Demand

 for Jury Trial with Injunctive Relief Sought against Defendant, SYNCHRONY BANK

 (“Defendant”), and in support thereof states as follows:

                                           Introduction

        1.      This action arises out of an alleged “Debt” or “Consumer Debt” as defined

 by Fla. Stat. § 559.55 (6) and Defendant’s violations of the Restrictions on Use of

 Telephone Equipment, 47 U.S.C. § 227 et. seq. (“TCPA”), and the Florida Consumer

 Collection Practices Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), in attempting to collect

 such Debt by using an automatic telephone dialing system or automated voice or

 prerecorded message to call Mrs. Allen’s Cellular Telephone after Mrs. Allen demanded

 that Defendant stop calling her Cellular Telephone, which can reasonably be expected to

 harass Mrs. Allen.



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                                       Jurisdiction and Venue

         2.      This Court has subject matter jurisdiction over the instant case arising

 under the federal question presented in the TCPA pursuant to 28 U.S.C. § 1331.

         3.      Venue lies in this District pursuant to 28 U.S.C. § 1391 (b) and Fla. Stat. §

 559.77 (1), as a substantial part of the events or omissions giving rise to the claims

 occurred in this judicial district.

                                                Parties

         4.      Plaintiff, Mrs. Allen, was and is a natural person and, at all times material

 hereto, is an adult, a resident of Hillsborough County, Florida, a “debtor” or “consumer”

 as defined by Fla. Stat. § 559.55 (8).

         5.      Mrs. Allen is the “called party” as referenced in the TCPA, 47 U.S.C. §

 227 (b) (1) (A) (iii), for all calls placed to cellular telephone number 813-***-7278

 (“Mrs. Allen’s Cellular Telephone”).

         6.      At all times material hereto, Defendant was and is a bank with its principle

 place of business in the State of Utah located at 170 West Election Road, Suite 125,

 Draper, UT 84020.

                                         Statements of Fact

         7.      Under information and belief, Mrs. Allen opened a credit account

 personal, household, or family purposes with Defendant (“Account”).

         8.      Sometime thereafter, Mrs. Allen encountered financial difficulties and fell

 behind on her payments towards the Account and incurred an outstanding balance owed

 thereunder (“Debt”).



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        9.        In or around early March of 2019, Defendant began placing calls to Mrs.

 Allen’s Cellular Telephone in attempts to collect the Debt (“Mrs. Allen’s Cellular

 Telephone”).

        10.       During that same time period, Defendant also began placing calls to Mrs.

 Allen’s Home Telephone number, 813-***-7278, in attempts to collect the Debt (“Mrs.

 Home’s Cellular Telephone”).

        11.       Mrs. Allen spoke with Defendant in early March of 2019 and told

 Defendant that she could not afford the payments on the Account and demanded that

 Defendant stop calling her Cellular Telephone and her Home Telephone.

        12.       Despite Mrs. Allen’s demands, Defendant has called Mrs. Allen’s Cellular

 Telephone at least one hundred (100) times during the time period from March of 2019 to

 the present date.

        13.       Defendant called Mrs. Allen’s Cellular Telephone from several different

 telephone numbers, including, but not limited to: 972-512-3473.

        14.       Defendant called Mrs. Allen’s Cellular Telephone up to four (4) times in a

 single day.

        15.       All of Defendant’s calls to Mrs. Allen’s Cellular Telephone were placed in

 an attempt to collect the Debt.

        16.       All of Defendant’s calls to Mrs. Allen’s Home Telephone were placed in

 an attempt to collect the Debt.

        17.       Defendant has harassed Mrs. Allen due to the timing and frequency of

 Defendant’s calls.



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              Count 1: Violation of the Telephone Consumer Protection Act

        18.      Mrs. Allen re-alleges paragraphs 1-17 and incorporates the same herein by

 reference.

        19.      The Restrictions on Use of Telephone Equipment provision, 47 U.S.C. §

 227 (b) (1) prohibits any person:

                          (A) to make any call (other than a call made for
                          emergency purposes or made with the prior express
                          consent of the called party) using any automatic
                          telephone dialing system or an artificial prerecorded
                          voice – (iii) to any telephone number assigned to a
                          paging service, cellular telephone service, . . . or
                          any service for which the called party is charged for
                          the call.

        20.      Mrs. Allen revoked consent to have Defendant call her Cellular Telephone

 by the use of an automatic telephone dialing system (“ATDS”) or artificial voice or

 prerecorded message in or around March of 2019 when she expressly told Defendant to

 stop calling her.

        21.      Despite this revocation of consent, Defendant thereafter called Mrs.

 Allen’s Cellular Telephone at least one hundred (100) times.

        22.      Defendant did not place any emergency calls to Mrs. Allen’s Cellular

 Telephone.

        23.      Defendant willfully and knowingly placed non-emergency calls to Mrs.

 Allen’s Cellular Telephone.

        24.      Mrs. Allen knew that Defendant called Mrs. Allen’s Cellular Telephone

 and Mrs. Allen’s Home Telephone using an ATDS because she heard a pause when she



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 answered at least one of the first few calls from Defendant on her cellular telephone

 before a live representative of Defendant came on the line.

        25.      Mrs. Allen knew that Defendant called Mrs. Allen’s Cellular Telephone

 using a prerecorded voice because Defendant left Mrs. Allen at least one voicemail using

 a prerecorded voice.

        26.      Defendant used an ATDS when it placed at least one call to Mrs. Allen’s

 Cellular Telephone.

        27.      Under information and belief, Defendant used an ATDS when it placed at

 least ten calls to Mrs. Allen’s Cellular Telephone.

        28.      Under information and belief, Defendant used an ATDS when it placed at

 least twenty calls to Mrs. Allen’s Cellular Telephone.

        29.      Under information and belief, Defendant used an ATDS when it placed all

 calls to Mrs. Allen’s Cellular Telephone.

        30.      At least one call that Defendant placed to Mrs. Allen’s Cellular Telephone

 was made using a telephone dialing system that has the capacity to store telephone

 numbers to be called.

        31.      At least one call that Defendant placed to Mrs. Allen’s Cellular Telephone

 was made using a telephone dialing system that has the capacity to produce telephone

 numbers to be called without human intervention.

        32.      At least one call that Defendant placed to Mrs. Allen’s Cellular Telephone

 was made using a telephone dialing system that uses a random number generator.




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        33.      At least one call that Defendant placed to Mrs. Allen’s Cellular Telephone

 was made using a telephone dialing system that uses a sequential number generator.

        34.      At least one call that Defendant placed to Mrs. Allen’s Cellular Telephone

 was made using a prerecorded voice.

        35.      Defendant has recorded at least one conversation with Mrs. Allen.

        36.      Defendant has recorded more than one conversation with Mrs. Allen.

        37.      Defendant has corporate policies and procedures in place that permit it to

 use an ATDS or artificial voice or prerecorded message to place call individuals to collect

 alleged debts from said individuals, such as Mrs. Allen, for its financial gain.

        38.      Defendant has corporate policies and procedures in place that permit it to

 use an ATDS or artificial voice or prerecorded message, and to place calls to individuals

 using such devices, just as it did to Mrs. Allen’s Cellular Telephone, with no way for the

 called party and recipient of the calls to permit, elect, or invoke the removal of the called

 party and recipient of the calls’ cellular telephone number from Defendant’s call list.

        39.      The structure of Defendant’s corporate policies and/or procedures permits

 the continuation of calls to individuals like Mrs. Allen, despite individuals like Mrs.

 Allen revoking any consent that Defendant believes it may have to place such calls.

        40.      Defendant knowingly employs methods and has corporate policies and

 procedures that do not permit the cessation or suppression of calls placed using an ATDS

 to individual’s cellular telephones, like the calls that it placed to Mrs. Allen’s Cellular

 Telephone.




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          41.      Defendant has corporate policies to abuse and harass consumers like Mrs.

 Allen.

          42.      Defendant has been sued in federal court where the allegations include:

 calling an individual using an ATDS after the individual asked for the calls to stop.

          43.      Defendant has been sued in federal court where the allegations include:

 calling an individual using an automated or prerecorded voice after the individual asked

 for the calls to stop.

          44.      Defendant’s      phone     calls    harmed      Mrs.    Allen     by    causing   her

 embarrassment.

          45.      Defendant’s phone calls harmed Mrs. Allen by causing her emotional

 distress.

          46.      Defendant’s phone calls harmed Mrs. Allen by causing her anxiety.

          47.      Defendant’s phone calls harmed Mrs. Allen by being an annoyance.

          48.      Defendant’s phone calls harmed Mrs. Allen by invading her privacy.

          49.      All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

 against Defendant as follows:

                a. Awarding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B),

                   which allows for $500 in damages for each such violation;

                b. Awarding treble damages pursuant to 47 U.S.C. § 227 (b) (3) (C);

                c. Awarding Plaintiff costs;




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               d. Ordering an injunction preventing further wrongful contact by the

                  Defendant; and

               e. Any other and further relief as this Court deems just and equitable.


      Count 2: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)

         50.      Mrs. Allen re-alleges paragraphs 1-17 and incorporates the same herein by

 reference.

         51.      Defendant violated the FCCPA. Defendant’s violations include, but are

 not limited to, the following:

               a. Defendant violated Fla. Stat. § 559.72(7) by continuing to

                  place calls to Mrs. Allen’s Cellular Telephone and Home

                  Telephone despite Mrs. Allen’s demand that Defendant

                  cease its calls because she could not afford payment on the

                  Account, which can reasonably be expected to harass Mrs.

                  Allen.

         52.      As a result of the above violations of the FCCPA, Mrs. Allen has been

 subjected to unwarranted and illegal collection activities and harassment for which she

 has been damaged.

         53.      Defendant’s      phone     calls    harmed      Mrs.    Allen     by    causing   her

 embarrassment.

         54.      Defendant’s phone calls harmed Mrs. Allen by causing her emotional

 distress.

         55.      Defendant’s phone calls harmed Mrs. Allen by causing her anxiety.


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        56.      Defendant’s phone calls harmed Mrs. Allen by being an annoyance.

        57.      Defendant’s phone calls harmed Mrs. Allen by invading her privacy.

        58.      It has been necessary for Mrs. Allen to retain the undersigned counsel to

 prosecute the instant action, for which she is obligated to pay a reasonable attorney’s fee.

        59.      All conditions precedent to this action have occurred.

        WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

 against Defendant as follows:

                 a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

                 b. Awarding actual damages;

                 c. Awarding punitive damages;

                 d. Awarding costs and attorneys’ fees;

                 e. Ordering an injunction preventing further wrongful contact by the

                     Defendant; and

                 f. Any other and further relief as this Court deems just and equitable.




                                 DEMAND FOR JURY TRIAL

           Plaintiff, Megin Allen, demands a trial by jury on all issues so triable.




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    Respectfully submitted this April 25, 2019,

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